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                           UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 THOMAS A. MOURIER,                                    )
                                                       )
                               Plaintiff,              )
                                                       )
 v.                                                    )      Case No. 1:23-cv-11280-IT
                                                       )
 WILLIAM F. GALVIN, Secretary of the                   )
 Commonwealth, in his official capacity,               )
 MASSACHUSETTS SECURITIES                              )
 DIVISION, and MASSACHUSETTS                           )
 OFFICE OF CONSUMER AFFAIRS AND                        )
 BUSINESS REGULATION,                                  )
                                                       )
                               Defendants.             )


                                    NOTICE OF APPEAL
       Plaintiff Thomas A. Mourier hereby provides notice that he appeals to the U.S. Court of

Appeals for the First Circuit from the Memorandum and Order of the District Court dated August

1, 2024, ECF No. 26.




 Dated: August 27, 2024                            Respectfully submitted,



                                                   /s/Thomas A. Mourier
                                                   Thomas A. Mourier
                                                   thomas.mourier@yahoo.com
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                                                   Winchester, MA 01890
                                                   (781) 602-0385




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                                 CERTIFICATE OF SERVICE
       I hereby certify that on August 27, 2024, I caused a copy of the foregoing Notice of

Appeal to be served, via the electronic case filing system of the Court, on all counsel of record

for the parties in these proceedings.




                                                                           Dated: August 27, 2024

                                                                            /s/ Thomas A. Mourier
                                                                               Thomas A. Mourier




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